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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,


-against-                                                04-CR-402


YASSIN MUHIDDIN AREF
and MOHAMMED MOSHARREF HOSSAIN,

                                    Defendants.


_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                                    DECISION & ORDER

       Defendants Aref and Hossain both move in limine to preclude the Government from

offering evidence from Rohan Gunaratna, an individual identified by the Government as

an expert in the field of “terrorist support and operational networks.” See Def. Aref Pretrial

Mot., pp. 14-23 [dkt. # 280]; Def. Hossain Pretrial Mot., pp. 4-10 [dkt. # 275]. In their

respective memoranda of law in support of these motions, Defendants cite to, and quote

from, Gunaratna’s expert witness report (previously provided to them by the Government).

Defendant Hossain seeks to attach the report as exhibit A to his motion. See Def. Hossain

Pretrial Mot., p. 4 [dkt. # 275]. The Government has raised the concern that the contents

of Gunaratna’s report, although supportive of its case, might have a negative impact upon

jury selection if made part of the public record at this time.

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       This case has received a large share of media coverage which has been a factor in

the Court’s decision to use juror questionnaires in this case. See June 7, 2006 Decision

and Order, pp. 16-17 [dkt. # 235]. While the Court recognizes the media’s right to access

documents that impact decisions in this case, see Nov. 16, 2004 Decision & Order [dkt. #

91] (addressing motion by a group of media outlets to intervene to gain access to

documents in this case), the Court’s paramount concern is that Defendants receive a fair

trial by an impartial jury that decides the case on the basis of the evidence presented in

the courtroom. Inasmuch as some or all of Rohan Gunaratna’s opinions might not be

presented in the courtroom, and inasmuch as Defendants have quoted from those

portions of Gunaratna’s report that they feel support their arguments for preclusion (thus

giving the public a basis to see what the Court is considering when it rules on these

motions), the Court finds that Gunaratna’s expert witness report should be filed in camera

and sealed until jury selection is complete.

       In this regard, the Court finds that Defendants’ rights to a fair trial by an impartial

jury that decides the case on the basis of the evidence presented in the courtroom

outweighs the public’s right of access to Gunaratna’s expert witness report until after the

jury is selected. See Globe Newspaper Co. v. Superior Ct., 457 U.S. 596, 606-07

(1982)(First Amendment right of access to court proceedings and documents may be

curtailed in favor of a compelling interest provided that the limitation on access is "narrowly

tailored to serve that interest."); Press-Enterprise Co. v. Superior Ct., 464 U.S. 501, 510

(1984)("The presumption of openness may be overcome only by an overriding interest

based on findings that closure is essential to preserve higher values and is narrowly

tailored to serve that interest."); Nixon v. Warner Communications, Inc., 435 U.S. 589, 598

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(1978)(common law right of access may be outweighed by important competing interests).

       Therefore, it is hereby

       ORDERED that Defendant Hossain shall file Rohan Gunaratna’s expert witness

report (Exhibit A to Defendant Hossain’s Pretrial Motions [dkt. # 275]) in camera, and the

Clerk of the Court shall seal the document until the jury in this case is sworn. After the jury

is sworn, the document shall be unsealed and posted on the public docket.

IT IS SO ORDERED



DATED: August 11, 2006




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